Case 2:04-cr-20163-.]PI\/|-tmp Document 81 Filed 04/27/05 Page 1 of 2 Page|D 104

IN THE UNITED STATES DISTRICT COURT i'i» ~-
FOR THE WESTERN DISTRICT OF TENNESSEE b N w

 

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\N.D. CF IN E‘J'LL'MPHES
UNITED STATES OE’ AMERICA

Plaintiff,
VS CR. NO. 04-20163-Ml
VIRGIL TAB, JR.

Defendant{s}

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Friday, April 22, 2005 at 9:00
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Report
Date on Friday, June 24, 2005 and a trial date of Tuesday, July 5, 2005
at 9:30 a.m.

The period from May 13, 2005 through July 15, 2005 is excludable
under 18 U.S.C. § Blél(h}(B)(B){iv} to allow defense counsel additional
time to prepare.

IT rs so 0RDERED this the ZL” day of Aprii, 2005.

,Wv @QQ

PHIPPS MCCALLA
UNN ED STATES DISTRICT JUDGE

 

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Honorable J on McCalla
US DISTRICT COURT

